   Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 1 of 14




                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                         MIDLAND/ODESSA DIVISION

VIRTAMOVE, CORP,

          Plaintiff,
                                      Civil Action No. 7:24-cv-00030
     v.
                                        JURY TRIAL DEMANDED
AMAZON.COM, INC.,
AMAZON.COM SERVICES LLC, and
AMAZON WEB SERVICES, INC.,

          Defendants.



                DECLARATION OF JEREMY A. ANAPOL
    IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS OR TRANSFER
      Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 2 of 14




       I, Jeremy A. Anapol, declare and state as follows:

       1.      I am a partner in the law firm of Knobbe, Martens, Olson & Bear, LLP. I am

counsel for Defendants Amazon.com, Inc., Amazon.com Services LLC, and Amazon Web

Services, Inc. (collectively, “Amazon”) in this action and I appear pro hac vice. I make this

declaration based on my personal knowledge and an investigation of the facts described herein. I

have added highlighting to some exhibits listed below to make cited information easier to find.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of a Harvard Business School

case consisting of “Vinod Khosla and Sun Microsystems (A)” dated December 14, 1989 and

“Vinod Khosla and Sun Microsystems (B)” dated September 28, 1999.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of an archived page of Sun’s

Press Releases showing an article entitled “SUN ANNOUNCES SOLARIS[tm] 9 OPERATING

ENVIRONMENT: WITH OVER 300 NEW FEATURES, CUSTOMERS SAVE MONEY AND

TIME” as on June 4, 2002.          The address of the original webpage being captured is

http://www.sun.com/smi/Press/sunflash/2002-05/sunflash.20020522.2.html.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a CNET article dated

November 13, 2003 and entitled “Sun builds software to slice up servers.” I obtained this article

from https://www.cnet.com/tech/services-and-software/sun-builds-software-to-slice-up-servers/.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of an excerpt from a

publication dated May 2005 and entitled “Solaris Containers – What They Are and How to Use

Them.” This article came from https://www.filibeto.org/sun/lib/blueprints/819-2679.pdf.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of United States Patent

Provisional Application No. 60/469,558. I obtained this application from the web site of the United

States Patent and Trademark Office (“USPTO”).




                                                -1-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 3 of 14




       7.      Attached hereto as Exhibit 6 is a true and correct copy of United States Patent No.

7,437,556. I obtained this application from the web site of the United States Patent and Trademark

Office (“USPTO”).

       8.      Attached hereto as Exhibit 7 is a true and correct copy of Andy Tucker’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       9.      Attached hereto as Exhibit 8 is a true and correct copy of John Beck’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       10.     Attached hereto as Exhibit 9 is a true and correct copy of Daniel Price’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       11.     Attached hereto as Exhibit 10 is a true and correct copy of a page from USENIX

showing an Abstract of a publication by Steven Osman et al. in 2002 and entitled “The Design and

Implementation of Zap: A System for Migrating Computing Environments.”

       12.     Attached hereto as Exhibit 11 is a true and correct copy of an article presented at

the 5th Symposium on Operating Systems Design and Implementation held in Boston,

Massachusetts from December 9 to 11, 2002 and entitled “The Design and Implementation of Zap:

A System for Migrating Computing Environments.”

       13.     Attached hereto as Exhibit 12 is a true and correct copy of Steven Osman’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”




                                               -2-
      Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 4 of 14




       14.     Attached hereto as Exhibit 13 is a true and correct copy of Dinesh Subhraveti’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       15.     Attached hereto as Exhibit 14 is a true and correct copy of Gong Su’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       16.     Attached hereto as Exhibit 15 is a true and correct copy of Jason Nieh’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       17.     Attached hereto as Exhibit 16 is a true and correct copy of the cover pages of United

States Patent Nos. 7,519,814 and 7,784,058, listing the patents’ original assignee.

       18.     Attached hereto as Exhibit 17 is a true and correct copy of a record obtained from

the Ontario Business Registry via the Ministry of Public and Business Service Delivery, showing

Trigence Corp. was a Canadian corporation headquartered in Ottawa, Ontario, Canada.

       19.     Attached hereto as Exhibit 18 is a true and correct copy of a page from

TravelMath.com showing the driving distance between Ottawa, Ontario, Canada and Midland,

Texas, United States.

       20.     Attached hereto as Exhibit 19 is a true and correct copy of a Corporate Profile

obtained from Innovation, Science and Economic Development Canada showing that VirtaMove

Corp. is based in Canada.

       21.     Attached hereto as Exhibit 20 is a true and correct copy of Paul O’Leary’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”




                                                -3-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 5 of 14




       22.     Attached hereto as Exhibit 21 is a true and correct copy of Dean Huffman’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       23.     Attached hereto as Exhibit 22 is a true and correct copy of Don Rochette’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       24.     Attached hereto as Exhibit 23 is a true and correct copy of a page from

TravelMath.com showing the distance between Dayton, Ohio and Midland, Texas.

       25.     Attached hereto as Exhibit 24 is a true and correct copy of a “contact us” page of

Docker showing that Docker is based in Palo Alto, California. I obtained this page from

https://www.docker.com/company/contact/.

       26.     Attached hereto as Exhibit 25 is a true and correct copy of a blog post from

Docker.com identifying Solomon Hykes as Docker’s founder.            I obtained this page from

https://www.docker.com/blog/docker-nine-years-young/.

       27.     Attached hereto as Exhibit 26 is a true and correct copy of a screenshot of a

YouTube video available at https://www.youtube.com/watch?v=wW9CAH9nSLs.

       28.     Attached hereto as Exhibit 27 is a true and correct copy of a web page showing that

PYCON US 2013 was held in Santa Clara, California.              The web page is available at

https://us.pycon.org/2013/.

       29.     Attached hereto as Exhibit 28 is a true and correct copy of Solomon Hykes’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”




                                               -4-
      Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 6 of 14




       30.     Attached hereto as Exhibit 29 is a true and correct copy of a Microsoft News

Center article dated October 15, 2014 and entitled “Docker and Microsoft partner to bring

container applications across platforms.” I obtained this article from

https://news.microsoft.com/2014/10/15/dockerpr/.

       31.     Attached hereto as Exhibit 30 is a true and correct copy of a Cloud Native

Computing Foundation announcement entitled “containerd joins the Cloud Native Computing

Foundation.” I obtained this from https://www.cncf.io/announcements/2017/03/29/containerd-

joins-cloud-native-computing-foundation/.

       32.     Attached hereto as Exhibit 31 is a true and correct copy of an excerpt from the

LinkedIn profile for the Cloud Native Computing Foundation. I obtained this document from

https://www.linkedin.com/company/cloud-native-computing-foundation/about/.

       33.     Attached hereto as Exhibit 32 is a true and correct copy of the containerd project

home page. I obtained this page from https://containerd.io.

       34.     Attached hereto as Exhibit 33 is a true and correct copy of Derek McGowan’s

X.com profile page where he refers to himself as a “@containerd maintainer.” I obtained this page

from https://x.com/derekmcgowan.

       35.     Attached hereto as Exhibit 34 is a true and correct copy of Derek McGowan’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       36.     Attached hereto as Exhibit 35 is a true and correct copy of Tonis Tiigi’s GitHub

profile page. I obtained this page from https://github.com/tonistiigi.

       37.     Attached hereto as Exhibit 36 is a true and correct copy of an AWS page entitled

“Fire TV at Amazon Prime Video Modernizes Its Stack Using Amazon ECS with AWS Fargate.”




                                                -5-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 7 of 14




I obtained this page from https://aws.amazon.com/solutions/case-studies/amazon-prime-video-

ecs-case-study/ and captured it using my web browser’s “reader view.” This page is also

referenced in VirtaMove’s First Amended Complaint. (Dkt. No. 23 at ¶ 26.)

       38.    Attached hereto as Exhibit 37 is a true and correct copy of Brent Marieb’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       39.    Attached hereto as Exhibit 38 is a true and correct copy of Sanket Patel’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       40.    Attached hereto as Exhibit 39 is a true and correct copy of Hani Suleiman’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       41.    Attached hereto as Exhibit 40 is a true and correct copy of an AWS page listing all

supported regions for Amazon ECS on AWS Fargate.                  I obtained this page from

https://docs.aws.amazon.com/AmazonECS/latest/developerguide/AWS_Fargate-Regions.html.

       42.    Attached hereto as Exhibit 41 is a true and correct copy of Greg O’Connor’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       43.    Attached hereto as Exhibit 42 is a true and correct copy of Google Flights pages

showing flights between Seattle and San Francisco, San Jose, and Oakland.

       44.    Attached hereto as Exhibit 43 is a true and correct copy of Google Flights page

showing flights from Seattle to Midland.




                                              -6-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 8 of 14




       45.    Attached hereto as Exhibit 44 is a true and correct copy of Google Flights page

showing flights from Midland to Seattle.

       46.    Attached hereto as Exhibit 45 is a true and correct copy of an Amazon page showing

that Amazon has a Palo Alto office hosting the Amazon Web Services teams. I obtained this page

from https://www.amazon.jobs/en/locations/palo-alto.

       47.    Attached hereto as Exhibit 46 is a true and correct copy of a Google Maps page

showing the driving distance between Amazon’s office in Austin and Midland.

       48.    Attached hereto as Exhibit 47 is a true and correct copy of Google Flights pages

showing flights from Ottawa to San Francisco, San Jose, and Oakland.

       49.    Attached hereto as Exhibit 48 is a true and correct copy of Google Flights pages

showing flights from Ottawa to Midland.

       50.    Attached hereto as Exhibit 49 is a true and correct copy of Google Flights pages

showing non-stop flights from (1) Cincinnati or Columbus to San Francisco, and (2) Cincinatti or

Columbus to Midland.

       51.    Attached hereto as Exhibit 50 is a true and correct copy of an article authored by

Jeffrey C. Mogul, dated December 1987, and entitled “The Packet Filter: An Efficient Mechanism

for User-Level Network Code.”

       52.    Attached hereto as Exhibit 51 is a true and correct copy of an article authored by

David R. Cheriton and entitled “VMTP: A Transport Protocol for the Next Generation of

Communication Systems.”

       53.    Attached hereto as Exhibit 52 is a true and correct copy of Jeffery C. Mogul’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”




                                              -7-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 9 of 14




       54.     Attached hereto as Exhibit 53 is a true and correct excerpt from a Forbes profile

of David Cheriton. I obtained this page from https://www.forbes.com/profile/david-cheriton/.

       55.     Attached hereto as Exhibit 54 is a true and correct copy of excerpts from the

Australian Unix Systems User Group Newsletter Volume 8 Number 5 which includes a paper

entitled “SunOS Release 4.0” by Rich Burridge from Sun Microsystems Australia.

       56.     Attached hereto as Exhibit 55 is a true and correct copy of an article authored by

Robert Gingell et al. entitled “Shared Libraries in SunOS.”

       57.     Attached hereto as Exhibit 56 is a true and correct copy of Robert Gingell’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       58.     Attached hereto as Exhibit 57 is a true and correct copy of an article authored by

Paul R. Eggert and D. Stott Parker, entitled “File Systems in User Space,” and published at 1993

Winter USENIX.

       59.     Attached hereto as Exhibit 58 is a true and correct copy of a UCLA Samueli School

of   Engineering    profile   page    of   Paul     Eggert.    I   obtained    this   page   from

https://samueli.ucla.edu/people/paul-eggert/.

       60.     Attached hereto as Exhibit 59 is a true and correct copy of a GitHub page showing

the repository for Docker. I obtained this page from https://github.com/moby/moby.

       61.     Attached hereto as Exhibit 60 is a true and correct copy of a GitHub page showing

the repository for containerd. I obtained this page from https://github.com/containerd/containerd.

       62.     Attached hereto as Exhibit 61 is a true and correct copy of a 2024 San Francisco

Chronicle article entitled “Microsoft subsidiary renews S.F. headquarters lease despite remote




                                                  -8-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 10 of 14




work policy.” I obtained this page from https://www.sfchronicle.com/realestate/article/s-f-

github-renews-lease-18670310.php.

       63.     Attached hereto as Exhibit 62 is a true and correct copy of a Statement of

Information for Google LLC obtained from the Office of the Secretary of State of California

showing that Google has a principal address in Mountain View, California.

       64.     Attached hereto as Exhibit 63 is a true and correct copy of a Docket Navigator page

showing the median time to trial in NDCA last year was 30 months.

       65.     Attached hereto as Exhibit 64 is a true and correct copy of a Docket Navigator page

showing the median time to trial in NDCA over the last five years was 30 months.

       66.     Attached hereto as Exhibit 65 is a true and correct copy of Docket Navigator pages

showing the number of patent cases filed in or assigned to Midland and the number of patent trials

in Midland.

       67.     Attached hereto as Exhibit 66 is a true and correct copy of Andrew Gabriel’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left

corner of the PDF, under “Contact.”

       68.     Attached hereto as Exhibit 67 is a true and correct copy of David Comay’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       69.     Attached hereto as Exhibit 68 is a true and correct copy of Ilias Ozgur Can

Leonard’s LinkedIn profile. The web address from which the PDF was obtained in shown in the

top left corner of the PDF, under “Contact.”

       70.     Attached hereto as Exhibit 69 is a true and correct copy of Maged (Migo) Bekhit’s

LinkedIn profile. The web address from which the PDF was obtained in shown in the top left




                                               -9-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 11 of 14




corner of the PDF, under “Contact.” Mr. Bekhit identified Haoqi Wang—who is part of Mr.

Behkit’s team at Amazon Web Services (“AWS”)—as the finance point-of-contact for the End-

of-Support Migration Program for Windows Server (“EMP”).

       71.     Attached hereto as Exhibit 70 is a true and correct copy of Haoqi Wang’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       72.     Attached hereto as Exhibit 71 is a true and correct copy of Tamara Dull’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.” Ms. Dull identified herself and Frank Wang as providing marketing

support for EMP as part of their responsibility for Microsoft workloads on AWS.

       73.     Attached hereto as Exhibit 72 is a true and correct copy of Frank Wang’s LinkedIn

profile. The web address from which the PDF was obtained in shown in the top left corner of the

PDF, under “Contact.”

       74.     I wrote to the following witnesses to ask whether they would be willing to testify

voluntarily in this case: Solomon Hykes, Derek McGowan, Tonis Tiigi, Dinesh Subhraveti, Paul

Eggert, David Cheriton, John Beck, Daniel Price, Steven Osman, Robert Gingell, and Greg

O’Connor. Hykes, McGowan, Tiigi, Eggert, Cheriton, Price, Osman, and O’Connor did not

respond to my inquiries.

       75.     Subhraveti stated that he is “open” to testifying in this case. He confirmed that he

resides in San Jose, California.

       76.     Gingell stated that he would likely be “willing to testify” unless he is “unable to

travel” when the trial date is scheduled. He confirmed that he resides in Sunnyvale, California.




                                               -10-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 12 of 14




       77.     Beck stated that he “might” be willing to testify if “the timing did not conflict with

other plans” and if “someone were to pay for me to travel for Midland” and “cover hotel/meal/etc

expenses.” He stated that he would “definitely not” be willing to testify if he had to pay for these

items himself. He confirmed that he resides in San Jose, California.

       78.     I understand that Andrew Tucker works for Google. I therefore asked Google’s

counsel whether Dr. Tucker would be willing to testify in this case. Google’s counsel has not yet

indicated whether Dr. Tucker would be willing to do so.



       I declare under penalty of perjury that the foregoing is true and correct. Executed this 7th

day of June, 2024 at Irvine, California.



                                                             /s/ Jeremy A. Anapol




                                                -11-
Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 13 of 14




June 11, 2024                    Respectfully submitted,


Of Counsel:                      By: /s/ Jeremy A. Anapol

                                 Joseph R. Re (Pro Hac Vice)
Harper Estes                     Jeremy A. Anapol (Pro Hac Vice)
Texas Bar No. 00000083           KNOBBE MARTENS OLSON & BEAR LLP
hestes@lcalawfirm.com            2040 Main Street, 14th Floor
LYNCH, CHAPPELL & ALSUP          Irvine, CA 92614
A Professional Corporation       Telephone: 949-760-0404
Suite 700                        Facsimile: 949-760-9502
300 N. Marienfeld,               joe.re@knobbe.com
Midland, Texas 79701             jeremy.anapol@knobbe.com
Telephone: 432-683-3351
Telecopier: 432-683-2587         Colin B. Heidman (Pro Hac Vice)
                                 Christie R.W. Matthaei (Pro Hac Vice)
                                 Logan P. Young (Pro Hac Vice)
                                 KNOBBE MARTENS OLSON & BEAR LLP
                                 925 4th Ave, Ste 2500
                                 Seattle, WA 98104
                                 Telephone: 206-405-2000
                                 Facsimile: 206-405-2001
                                 colin.heideman@knobbe.com
                                 christie.matthaei@knobbe.com
                                 logan.young@knobbe.com



                                 Counsel for Defendants
                                 Amazon.com, Inc.,
                                 Amazon.com Services, LLC
                                 and Amazon Web Services, Inc.




                               -12-
     Case 7:24-cv-00030-ADA-DTG Document 37 Filed 06/11/24 Page 14 of 14




                                CERTIFICATE OF SERVICE

I hereby certify that on June 11, 2024, all counsel of record who are deemed to have consented to
electronic service were served with a copy of the foregoing via the Court’s CM/ECF System.
                                            /s/ Jeremy A. Anapol
                                            Jeremy A. Anapol




                                             - 13 -
